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13
14                         UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16
17    DEBORAH CANTER,                          Case No.: 2:14-cv-05221-RSWL-JPR
18                Plaintiff,                   NOTICE OF SETTLEMENT AND
19          vs.                                REQUEST FOR CONTINUANCE
                                               OF THE SCHEDULING
20                                             CONFERENCE
21    WELLS FARGO DEALER                       Judge: Hon. Ronald S.W. Lew
      SERVICES, INC.; and DOES 1 to 10,        Conference date: Dec 2nd, 2014
22    inclusive,                               Time: 10:00 a.m.
23                Defendants.
24
25                              NOTICE OF SETTLEMENT

26           NOW COMES the Plaintiff, DEBORAH CANTER, by and through the
27    undersigned counsel and hereby informs the court that a settlement of the present
28    matter has been reached and is in the process of finalizing settlement, which
      Plaintiff anticipates will be finalized within the next 30-60 days. Plaintiff
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                                                                  NOTICE OF SETTLEMENT
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 1    therefore requests that this honorable court continue all dates currently set on
      calendar for the present matter including the Scheduling Conference scheduled
 2
      for December 2, 2014.
 3
 4
 5                                    RESPECTFULLY SUBMITTED,
 6      DATED: December 1, 2014       MARTIN LAW GROUP, APC
 7                                    By/s/ Agnes Martin         .
 8                                        Agnes Martin
 9                                        Attorney for Plaintiff
                                          DEBORAH CANTER
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